1. The question of whether a vested or contingent remainder is created by a provision of a will must be decided under the law of the State where the real property devised is situated.
2. Under the law of Tennessee, where the property involved in this case is located, the estate in remainder was contingent and not vested.
                       No. 16526. APRIL 12, 1949.
Grady A. Veach, a resident of Cobb County, and Julia Veach Stewart, a resident of Bartow County, as executors under the will of George A. Veach, and as trustees under the fourth item of the will, brought a petition in Bartow Superior Court for a construction of item 4 of the will, which is as follows: "It is my will and desire that my Executors hereinafter named shall take as Trustees all of my interest, which is an undivided one-half interest, in the following described real estate situated in the City of Chattanooga, Hamilton County, Tennessee, to wit: [Description of property.] My Executors as Trustees shall hold said property in trust for a period of ten (10) years. In the event my wife, Mrs. Annie Tankersley Veach, shall be living at the expiration of said ten years, then said trust shall continue and remain in full force and effect until her death. Provided that, if prior to either of said contingencies all of said Trustees shall consider it necessary, for the purpose of saving the estate from serious loss, they may terminate said trust and make division of the property as herein provided. In the event that my said wife shall be living at the time of my death, it is my desire that out of the income from said trust she shall receive Two Hundred Dollars ($200) per month, payable monthly, and that the remainder of the net income, after payment of taxes and *Page 186 
expenses of management and other expenses, shall be paid to my children according to the laws of distribution of the State of Georgia. Upon the expiration of said trust, as above provided, the said property shall descend and go to my heirs at law according to the statutes of descents and distributions of the State of Georgia. My Executors are authorized to convey the property to my heirs, allowing each such an undivided interest as under the law he or she would be entitled to; or, they may in their discretion sell the property and divide the proceeds according to the method of distribution herein provided. I authorize my Executors as Trustees for said purpose to do whatever is necessary during the period of said trust for the proper and efficient administration and handling of said trust property."
It is alleged: George A. Veach died a resident of Bartow County on June 28, 1936. The petitioners are the only executors who are now acting under the will. All requirements of the will and of law have been complied with so that the provisions of item 4 of the will have become operative, and assets are now held by the petitioners under the terms and conditions of this item. The property described in the item has been held by the petitioners for a period in excess of ten years. The testator's widow, Mrs. Annie Tankersley Veach, is still living. The trustees have not considered it necessary, to save the estate from serious loss, to terminate the trust.
George A. Veach left certain heirs at law, as follows: (a) His widow, Mrs. Annie Tankersley Veach, who remains in life. (b) His children, Grady A. Veach, Julia Veach Stewart, Mrs. Richard W. Milner, and Mrs. Milton P. Gaines, all of whom remain in life. (c) A child, J. M. Veach, who died on January 11, 1947, leaving his wife, Marguerite Dyar Veach, as his sole heir at law. Copy of the will of J. M. Veach is attached to the petition, and it appears that J. M. Veach willed all of his property, except for one cash bequest, to his wife. (d) One child of George A. Veach predeceased him, namely E. D. Veach. He left a will under which his wife, Mrs. Lillian Veach, has qualified as sole executrix. His former wife is now Mrs. G. C. Kirkley. After enumerating certain bequests, the testator provided that the residue of his estate should be held together for the support of his widow and minor children during his wife's life or widowhood, to be *Page 187 
distributed among his children and descendants of children on the remarriage or death of his wife. Three children survive E D. Veach: George William Veach, Helen Veach Burke, and E. B. Veach. One child, Harold Veach, outlived George A. Veach, but died in January, 1946, leaving no will, and there has been no administration upon his estate. His sole heirs at law are his mother, Mrs. G. C. Kirkley, and his brothers and sister.
It is further shown: During 1947 the petitioners distributed income at the rate of $200 per month to Mrs. Annie Tankersley Veach, as is clearly provided in the will. They have been uncertain as to the distribution of the shares that might be claimed by the representatives of E. D. Veach and J. M. Veach, and since the death of J. M. Veach they have not paid out any other income or corpus from the trust. Demands have been made upon them for the payment of benefits provided under item 4 of the will by various parties interested under the rights of J. M. Veach and E. D. Veach. It is necessary for the petitioners to have a declaration of rights and legal relations in respect to this item of the will, and to obtain direction in distributing income and corpus from the trust. It is prayed that the provisions of item 4 be construed, and direction be given as to the distribution of the income and corpus of the trust estate created under the item.
Mrs. Marguerite Dyar Veach, in answer to the petition, contended that her deceased husband, J. M. Veach, had a vested interest in the income and corpus of the trust estate under the provisions of the will of his father, George A. Veach, with the right to possession of the corpus of the estate postponed until the death of Mrs. Annie Tankersley Veach and the expiration of the trust. She averred that, as sole heir at law of J. M. Veach, and as executrix and devisee and legatee under his will, she now owns the share of J. M. Veach in the corpus of the trust, an undivided one-sixth interest therein, and is entitled to receive the same proportion of income derived therefrom during the continuance of the trust as was received by J. M. Veach during his lifetime.
Mrs. Annie Tankersley Veach, Grady A. Veach, Julia Veach Stewart, Mrs. Richard W. Milner, Mrs. Milton P. Gaines, George William Veach, and Mrs. G. C. Kirkley (individually and as executrix under the will of E. D. Veach), in their answer, and Helen Veach Burke and Esbun B. Veach, in an almost identical *Page 188 
answer, contended that upon the death of J. M. Veach the income and corpus of the trust which would have gone to him under item 4 of the will of George A. Veach did not pass to his estate or to his widow; and that the income under the will of George A. Veach which would have gone to E. D. Veach, had he survived his father, passed to the children of E. D. Veach.
The parties entered into a stipulation that all questions of law and fact would be heard and determined by the judge without the intervention of a jury. On the trial Mrs. Marguerite Dyar Veach offered no testimony. The other parties offered testimony of a qualified attorney of the State of Tennessee to prove the law of that State in regard to the construction of a provision of a will devising property to certain persons as a class under enumerated circumstances. They also offered testimony tending to show that it was the intention of the testator that his property be kept "in the blood" and that his daughters-in-law and sons-in-law should not share in his estate.
The trial judge took the case under advisement, and before his decision was announced, additional pleadings were filed in regard to the manner in which the income of the trust estate had been distributed.
The trial judge on October 1, 1948, entered a decree in which he held: (1) The laws and statutes of Georgia apply in the construction of item 4 of the will. (2) The interest devised to J. M. Veach, deceased, was not a vested interest, but was a contingent interest, and his widow, Mrs. Marguerite Dyar Veach, could not become vested with any interest in either the income or corpus of the property bequeathed under item 4 of the will. (3) Upon the death of Mrs. Annie Tankersley Veach, the children and grandchildren, then living, would be entitled to receive the entire interest in the property involved in the case. (4) The language of item 4, "upon the expiration of said trust, as above provided, the property shall descend and go to my heirs at law according to the statute of descent and distribution of the State of Georgia," is absolutely inconsistent with a holding that it was the intention of the testator that there was a vested interest in his heirs immediately following his death. (5) The actions of the trustees in distributing the income from the trust to the children and grandchildren of George A. Veach, as set *Page 189 
out in the amendment to the petition, were proper and legal. In the future the trustees, until the trust is executed, should from time to time distribute the income from the estate, after paying Mrs. Annie Tankersley Veach $200 per month, and after paying all necessary expenses, to such children and grandchildren of George A. Veach as may be living. The corpus of the trust should pass, upon the death of Mrs. Annie Tankersley Veach, to the children and grandchildren of George A. Veach per stirpes; and should any other child or children of George A. Veach predecease Mrs. Annie Tankersley Veach, the income that would have been payable to such deceased child or grandchild shall be paid to his or her issue then living, per stirpes, and if there be no such issue, then the income shall be paid to the surviving children or grandchildren of George A. Veach, per stirpes.
Mrs. Marguerite Dyar Veach, individually and as executrix, filed a motion for new trial on the general grounds, which was amended by the addition of special grounds assigning error on the admission of certain conclusions of law by the Tennessee attorney, and the admission of evidence concerning the intention of the testator, over the objection that the testimony was hearsay, it being contended that the will is unambiguous and such testimony is not admissible. Error was also specifically assigned on paragraphs 2, 3, 4, and 5 of the court's ruling.
The trial judge overruled the motion for new trial, as amended, and the exception here is to that judgment.
1. The petition of the executors named in the will of George A. Veach (also as trustees under item 4 of his will) alleged that the corpus of the trust was described real estate located in the State of Tennessee, and that the legal effect of the trust created by the will would be determined by the laws of Tennessee. The petition purports to set out in substance the applicable law of the State of Tennessee. Counsel for the defendants in error contend in their briefs that the laws of Tennessee govern in the construction of the trust created by item 4 of the will. The trial judge in his written opinion held that *Page 190 
the laws and statutes of the State of Georgia would apply in the construction of item 4 of the will. It was stated further, however, that in the opinion of the court the statutes and decisions of the State of Tennessee would require the same judgment.
It is the duty of this court to render its decision on the law applicable to the case, whether it be the law of Georgia or of Tennessee. 11 Am. Jur., p. 481, § 174, on "Conflict of Laws," states the rule as follows: "A devise of real property will always be construed, as far as the effect of the will is concerned, in accordance with the lex rei sitae. For instance, it is held that the question whether a vested or contingent remainder is created depends not on the law of the testator's domicile, but on the law of the place where the land is situated."
In "Restatement of the Law of Conflict of Laws" by the American Law Institute, p. 333, § 249, the rule is stated as follows: "The validity and effect of a will of an interest in land are determined by the law of the State where the land is." See also 15 C. J. S. on "Conflict of Laws," 941, § 19 (f); 948, § 21 (d); Jacobs v. Whitney, 205 Mass. 477; 79 A.L.R. 108.
The general rule stated in the authorities cited has been followed by this court. In Kerr v. White, 52 Ga. 362, this court held that the will of a resident of the State of Tennessee, devising property in this State, would be regulated by the laws of the State of Georgia, and not by the laws of the State of Tennessee. In Sinnott v. Moore, 113 Ga. 908 (39 S.E. 415), this court applied the law of Georgia to a trust under a will executed by a resident of the State of Pennsylvania, and held that a resident of that State devising property located in Georgia would be presumed to know the law of this State.
In the present case the legal effect of item 4 of the will is to be determined under the laws of Tennessee, where the property is located.
2. The one controlling question to be determined is the nature of the estate in remainder (whether vested or contingent) devised to the heirs at law of the testator. Counsel for the litigants in this case have cited numerous authorities from the States of Georgia and Tennessee. Counsel for the plaintiff in error state in their brief that all of the Georgia cases cited by counsel *Page 191 
for the defendants in error are distinguishable on their facts from this case. This contention of counsel appears to be correct. We might add that the decisions cited from the Supreme Court of Tennessee are not directly in point. It has been stated by the Supreme Courts of Georgia and Tennessee that all wills differ, and that decisions in other cases are of little or no value in the interpretation of a will, unless the language used and the surrounding circumstances are the same. McGinnis v. Foster,4 Ga. 378; Cook v. Weaver, 12 Ga. 50 (3); Bryant v.Green, 187 Ga. 89, 91 (199 S.E. 804); Jones v. Hunt,96 Tenn. 369, 377.
In the hearing before the trial court, the defendants in error introduced the testimony of W. D. Moon, a prominent attorney of Chattanooga, Tennessee. Mr. Moon was examined and cross-examined at length concerning the statutes and Supreme Court decisions of the State of Tennessee. In substance, Mr. Moon stated it to be his opinion that the "class doctrine" of Tennessee (Williams Annotated Code of Tennessee, §§ 7598, 8092) would apply, and that under the "class doctrine" of Tennessee only those persons who are heirs of the testator at the time of the termination of the trust will take as remaindermen.
The trial court was authorized to hear the testimony of counsel skilled in the law of the State of Tennessee, to aid in arriving at a proper conclusion in regard to the law of that State. The trial judge was not limited to the testimony of counsel, nor is this court, but resort may be had to the statutes of Tennessee and to the decisions of its Supreme Court.Chattanooga, Rome  Columbus R. Co. v. Jackson, 86 Ga. 676
(3) (13 S.E. 109); Barranger v. Baum, 103 Ga. 465, 466 (7) (30 S.E. 524).
The "class doctrine" was stated by the Supreme Court of Tennessee in Hobson v. Hobson, 184 Tenn. 484 (201 S.W.2d 659) in the following language: "Under the `class doctrine,' where a bequest is made to a class of persons, subject to fluctuation by increase or diminution of its number in consequence of future births or deaths, and time of payment or distribution of fund is fixed at a subsequent period, or on happening of a future event, entire interest vests in such persons only as at that time fall within description of persons constituting such class." See also Jennings v. Jennings,165 Tenn. 295 (2) (54 S.W.2d 961).
Every element of the "class doctrine" as stated by the Supreme *Page 192 
Court of Tennessee is present in the will in this case. The testator made a bequest to a class of persons, "to my heirs at law according to the statutes of descents and distributions of the State of Georgia." This class was subject to fluctuation by diminution of its number by death. It is not essential that the class be subject to fluctuation both by increase and decrease, since the disjunctive word "or" is used. Any change, either by increase or by decrease, meets the requirement as to fluctuation.
The time of payment or distribution was fixed at a subsequent period and upon the happening of a future event, "upon the expiration of said trust, as above provided, the said property shall descend and go," etc. That the time of payment or distribution is fixed at the termination of the trust, can not be disputed, since the executors, as trustees, are authorized to convey the actual property to the class named.
Under the "class doctrine" as applied by the Supreme Court of Tennessee, upon the termination of the preceding estate the property would vest in such persons as would constitute the described class. "Heirs at law," according to the "statutes of descents and distributions" of this State, mean children of the testator or children of children (grandchildren). Code, § 113-903 (4). The phrase, "heirs at law," under the laws of Tennessee, means children (Boyd v. Robinson, 93 Tenn. 1, 36), and the "class doctrine" of Tennessee, as amended in 1927, includes the bodily representatives of children (grandchildren). The class would not include the wife of a deceased child, who left no lineal descendants, since the wife would not be an heir of the testator under the "statutes of descents and distributions" of Georgia, nor an heir of the testator under the laws of Tennessee.
The remainder to the heirs of the testator upon the termination of the trust was contingent and not vested. "A `contingent remainder' and not a `vested remainder' exists whenever persons who are to enjoy the remainder are to be ascertained at time preceding estate fails and are not ascertained at time preceding estate and remainder are created." First Nat. Bank of Springfield v. Pointer, 174 Tenn. 473
(126 S.W.2d 335). See also Rinks v. Gordon, 160 Tenn. 345, 346
(5). Other decisions of the Supreme Court of Tennessee wherein the "class doctrine" *Page 193 
of that State was applied have been examined and might be cited. This could serve no useful purpose. The language employed by the testator clearly makes the "class doctrine" applicable, and requires the affirmance of the judgment of the court below, which is correct in result.
Counsel for the plaintiff in error contend that the Tennessee law favors the vesting of estates, and that doubt should be resolved in favor of an intention of the testator to convey a vested remainder rather than a contingent remainder. The rule as contended by counsel is in effect in both Georgia and Tennessee. Ga. Code, § 85-708; Lumpkin v. Patterson, 170 Ga. 94 (6) (152 S.E. 448); Bigley v. Watson, 98 Tenn. 353, 359; Maynorv. Vaughn, 159 Tenn. 283, 287; Williams v. McFarland, 162 Tenn. 469
(5). Counsel for the plaintiff in error further contend that in the construction of wills the courts of Tennessee would undertake to ascertain the intention of the testator and give effect to his wishes, if no rule of law is contravened and his will is not against public policy. This contention is correct, and the rule is in effect in both Georgia and Tennessee. Ga. Code, § 113-806; Jones v. Hunt, supra. Neither rule, however, can change the result in this case. The language employed by the testator is clear and unambiguous, and this court will not, by construction, create an ambiguity where none exists.
All of the amended grounds of the motion for new trial not previously ruled upon deal with assignments of error on the admission of evidence in support of the contentions of the defendants in error that it was the wish of the testator that his property should descend only to his "blood heirs." Since the language of the will is not ambiguous, such testimony was inadmissible. Its admission, however, does not require the reversal of a judgment demanded by the law applicable to the will.
Some reference is made in the briefs of counsel as to whether or not the trust created by item 4 of the will of the testator might violate our Code, § 108-114, limiting the persons for whom a trust may be created. This question is not involved in this case. The trust is controlled by the laws of Tennessee, and an examination of the Code of Tennessee does not reveal any statutory limitation similar to the Georgia law in the creation of trusts. On the contrary, such a trust as was created by the *Page 194 
testator would appear to be legal in Tennessee. Bonham v.
Bonham, 180 Tenn. 364.
Judgment affirmed. All the Justices concur.